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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
V.

ERIC MUNCHEL and LISA
EISENHART,

Defendants.

 

 

Case No. 1:21-CR-118-RCL

For the reasons in the memorandum opinion issued this same date, it is hereby ORDERED

that the defendants’ motions to dismiss—ECF Nos. 161, 176, 177—are DENIED.

IT IS SO ORDERED.

Date: April _/ , 2023

Cope t: fahete
Royce C. Lamberth
United States District Judge
